 

U.S. DISTRICT COURT
Case 4:19-cv-00414-A Document 111 Filed 07/10/19 PageranatiGn Pare Be GaxAs

 

JUL 10 2019

 

IN THE UNITED STATES DISTRICT GOURT
FOR THE NORTHERN DISTRICT OF TEXAS

 

 

LERK, U.S, DISTRICT COURT

 

 

 

 

FORT WORTH DIVISION 8
» Jeputy
AMERICAN AIRLINES, INC., Civil Action No. 4:19-cv-00414-A
Plaintiff,

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TRANSPORT WORKERS UNION OF
AMERICA, AFL-CIO, INTERNATIONAL
ASSOCIATION OF MACHINISTS AND
AEROSPACE WORKERS, and AIRLINE
MECHANIC AND RELATED EMPLOYEE
ASSOCIATION TWU/IAM,

Defendants.

 

 

Pelee MODIFICATIONS TO JUNE 14, 2019 TEMPORARY RESTRAINING
ORDER

On June 14, 2019, American Airlines, Inc. (“American”) filed a Motion for Temporary
Restraining Order, which the Court granted the same day. On July 10, 2019, American filed a
Motion seeking Immediate Modification of the Temporary Restraining Order. After considering
the July 10, 2019 Motion and Appendix in Support of American’s Motion for Immediate
Modification of Temporary Restraining Order, as well as the other filings in this matter, the
Court finds cause to modify the June 14, 2019 Temporary Restraining Order by imposing
additional requirements on Defendants Transport Workers Union of America, AFL-CIO,
International Association of Machinists and Aerospace Workers, and Airline Mechanic and
Related Employee Association TWU/IAM (collectively “Defendants” or the “Union”).

THEREFORE, IT IS ORDERED that the June 14, 2019 Temporary Restraining Order

remains in full force and effect, and the Union remains adequately indemnified by the bond

APPO039

 
Case 4:19-cv-00414-A Document 111 Filed 07/10/19 Page 2of5 PagelD 2268

previously obtained by American, with the following additional requirements imposed on

Defendants:

The most senior Union leaders, including Sito Pantoja, Alex Garcia, and John
Samuelsen, shall conduct in person group meetings as soon as possible with
mechanics at American’s line maintenance stations who are currently scheduled
to work the RON (overnight) shift, and communicate a sincere and emphatic
respect for the requirements of the Temporary Restraining Order and an
imperative that every single mechanic and related employee fully and
immediately comply with an unequivocal goal of restoring the mechanics and
related employees’ behavior and the operation to normal subject to the imposition
of fines or discipline by Defendants, and allow representatives of American
management to attend those meetings to monitor compliance;

The most senior Union leaders, including Sito Pantoja, Alex Garcia, and John
Samuelsen, shall conduct in person group meetings as soon as possible with all
Union officials, including Local leadership, Local e-board members, shop
stewards and grievance committee members, at all stations and communicate a
sincere and emphatic respect for the requirements of the Temporary Restraining
Order and an imperative that every single union official fully and immediately
comply with an unequivocal goal of restoring the mechanics and related
employees’ behavior and the operation to normal subject to the imposition of
fines or discipline by Defendants, and allow representatives of American .

management to attend those meetings to monitor compliance;

APPGO40

 

 
Case 4:19-cv-00414-A Document 111 Filed 07/10/19 Page 3of5 PagelD 2269

C. The most senior Union leaders, including Sito Pantoja, Alex Garcia, and John
Samuelsen, shall, to the extent that mechanics or Union officials are not available
to attend the above meetings to call those mechanics and Union officials, as soon
as possible and communicate a sincere and emphatic respect for the requirements
of the Temporary Restraining Order and an imperative that every single mechanic

and related employee and union official fully and immediately comply with an

 

unequivocal goal of restoring the mechanics and related employees’ behavior and
the operation to normal, subject to the imposition of fines or discipline by
Defendants;

d. Defendants shall post the June 14, 2019 Temporary Restraining Order and these
modifications to a dedicated webpage and on dedicated bulletin boards, separate
from all other union correspondence;

€. Defendants shall post a video on the same dedicated webpage of the most senior
Union leaders, including Sito Pantoja, Alex Garcia, and John Samuelsen,
communicating a sincere and emphatic respect for the requirements of the
Temporary Restraining Order and an imperative that every single mechanic and
related employee and union official fully and immediately comply with an
unequivocal goal of restoring the mechanics and related employees’ behavior and
the operation to normal, subject to the imposition of fines or discipline by
Defendants;

f. Each of Defendants’ members shall sign and date an acknowledgment form

stating that they have read and understand their obligation to comply with the

APPO041

 
Case 4:19-cv-00414-A Document 111 Filed 07/10/19 Page 40f5 PagelD 2270

modified Temporary Restraining Order upon risk of being disciplined or fined by |
Defendants and American;
g. The most senior Union leaders, including Sito Pantoja, Alex Garcia, and John

Samuelsen, shall issue, as soon as possible, the following notice, to all mechanics

and related employees:

“Despite the Temporary Restraining (TRO) issued by the United
States District Court for the Northem District of Texas on June 14,
2019, the disruption from the status quo—as measured by AOS at
0700, high daily open MELs, and low nightly accomplishment
yields—has continued, and even worsened.

We therefore notify you, In no uncertain terms, that:

Any actions by mechanic and related employees that are designed
or intended to harm or slow down American’s operations is a
violation of the Court’s TRO and the Railway Labor Act.

You MUST resume normal working schedules and practices.

You MUST NOT engage in any concerted refusal to perform
normal operations.

Any individual employee represented by the Association who is
found to have:

e Refused to accept overtime or field trip requests as they
would in the normal course;

e Failed to complete maintenance repairs as they would in
the normal course; —~

e Slowed down in the performance of their job duties; or

e Taken any other action intended to cause aircraft to be out
of service outside of the normal course (including
specifically aircraft out of service at 7:00 a.m.) or otherwise
cause flight delays or cancellations or interfere with
American’s operations;

WILL face discipline and fines from the Association, TWU and/or JAM”; and

APP0042

 
Case 4:19-cv-00414-A Document 111 Filed 07/10/19 Page5of5 PagelD 2271

h. Defendants shall take all reasonable actions, including but not limited to
communications to their members, to ensure that their members working at
American’s line maintenance stations, within seven days of entry of the modified
Temporary Restraining Order, achieve approximately, in the aggregate, on a 7-

day moving average basis, overnight productivity levels equal to the aggregate

 

status quo overnight productivity levels achieved in the summer of 2018 of
77.5%.

IT: IS FURTHER ORDERED that by 10:00 a.m. on the fifth business day following
issuance of these modifications, Defendants shall, by sworn declarations, confirm the steps taken
toward compHance with each of the above requirements. The declarations shall include full
details regarding the timing/location of the meetings and names of attendees at such meetings,
and a detailed summary of what Defendants’ leaders said at such meetings—with the recognition
. that Defendants may not be able to accomplish all of the above actions within five business days.
if that is the case, Defendants shall update the Court every third business day until completed.

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SO ORDERED at Size te 0 clockgathis LO i CU day of July, 2019,
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APP0043

 
